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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                                                                        FILED
                                                                                  EA.srM~s. DISTRICT COURi
                                                                                         N DISTRICT ARKANSAS
                                WESTERN DIVISION
                                                                                      NOV
                                                                            JAMESW.
                                                                            By:
MICHAEL D. BULL                                                             PLAI~N~T~IF~F~~~~~=
vs.                           CASE NO.     'f: 11/t..JfRK(- /!J~
BANK OF AMERICA, N.A.                                                       DEFENDANT


                                          COMPLAUfl'is case assigned to      Di~~
                                                 and to Magistrate Judge             ~_/(

       Comes the Plaintiff, Michael D. Bull (Bull), by and through his attorney J. R. Andrews,

and for his Complaint and demand for jury trial against Bank of America, N.A. (Bank of

America) states and alleges as follows:



                                JURISDICTION AND VENUE


       1.      Jurisdiction of this Court arises pursuant to 28 U.S.C. §1331and15 U.S.C.

§168lp.


       2.       This action arises out of Defendant's violations of the Fair Credit Reporting Act,

15 U.S.C. §1681 et seq.

       3.      The actions alleged in this Complaint occurred within the State of Arkansas.

       4.      Venue is proper pursuant to 28 U.S.C. §1391 as Bank of America transacts

business in Arkansas and Bull is a resident of Jacksonville, Pulaski County Arkansas.




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                                      PARTIES TO THE CLAIM
       5.      Plaintiff re-alleges and incorporates paragraphs 1-4 as if fully set out herein.

       6.      Bull is a resident of Jacksonville, Pulaski County, Arkansas, and is a "consumer"

as defined by 15 U.S.C. §1681a(c);

       7.      Bank of America is nationally chartered banking institution transacting business in

Arkansas with a principal place of business in North Carolina.

       8.      Bank of America is being served via its registered agent:

                              The Corporation Company
                              124 West Capitol Avenue, Suite 1900
                              Little Rock, AR 72201

                                  FACTUAL BACKGROUND
       9.      Plaintiff re-alleges and incorporates paragraphs 1-8 as if fully set out herein.

       10.     Bull obtained a mortgage on his personal residence in Jacksonville Arkansas

through Pulaski Mortgage Company in November 2008.

       11.     In December 2008, Pulaski Mortgage Company transferred the Bull mortgage to

Countrywide Bank FSB for loan servicing.

       12.     Upon information and belief, at some point in time between December 2008 and

October 2012, Bank of America purchased the assets of Countrywide Bank FSB and began

 servicing Bulls mortgage.

       13.     In October 2012, Bull refinanced the mortgage that was serviced by Bank of

America through CBC National Bank based in Alpharetta, Georgia.

       14.     The refinanced mortgage through CBC National Bank was closed on October 25,

2012 and funded on October 30, 2012.

       15.     Upon information and belief, the mortgage funds representing the payoff of the



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Bank of America serviced loan were wire transferred to Bank of America on October 30, 2012.

       16.    Upon information and belief, the funds transferred to Bank of America were refused

as pro-rated interest was not included in the transferred funds.

       17.    Because no payment was made by Bull in October 2012, Bank of America reported

Bull thirty days late to the credit reporting agencies.

       18.    Upon information and belief, the mortgage funds representing the payoff to Bank

of America were accepted as full payment of amounts owed by Bank of America before the end

of November 2012.

       19.    Despite its acceptance of Bull's mortgage payoff in full, Bank of America reported

Bull thirty days late for November 2012 to the credit reporting agencies.

      20.     As a result of Bank of America's erroneous credit reporting, Bull has suffered

economic and personal damages.

                     VIOLATION OF THE FAIR CREDIT REPORTING ACT

      21.     Plaintiff re-alleges and incorporates paragraphs 1-20 as if fully set out herein.

      22.     The mortgage debt reported by Bank of America as thirty days late had been paid

in full prior to November 30, 2012.

      23.     Because Bank of America had actual knowledge that the Bull mortgage had been

paid in full prior to November 30, 2012, Bank of America reported information to the credit

reporting agencies with actual knowledge of errors in violation of 15 U.S.C. §1681s-2(a)(l)(A).

                                               DAMAGES

      24.     Plaintiff re-alleges and incorporates paragraphs 1-23 as if fully set out herein.

      25.     Bull is a licensed commercial painting contractor and bids on major commercial

painting contracts including schools and office buildings.



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      26.     Bull, as a prerequisite to placing bids on commercial projects, must be bonded.

      27.     As a result of Bank of America's erroneous credit reporting, Bull was unable to

obtain a renewal of his bond.

      28.     Part of the bonding process is to review the personal credit reports of the bond

applicant

      29.     Since Bull is unable to obtain bonding, has can no longer work as a commercial

painting contractor which has diminished his earning capacity.

                                          JURY DEMAND

      30.     Bull demands a trial by jury.

      WHEREFORE, Plaintiff requests the Court enter judgment in his favor and award him

his damages as well as attorney fees.



                                              Respectfully submitted,




                                              J.
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